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                                                                                               2020 Apr-09 PM 10:29
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                 WESTERN DIVISION

GERALDINE DANIELS,                                   )
SHENEKA FRIESON on behalf of                         )
GABRYELLA MCCRAW, A MINOR,                           )
KIMBERLY TURNER, and                                 )
MARY WILLIAMS,                                       )
                                                     )
       PLAINTIFFS,                                   )
                                                     )       Case No. 7:19-cv-02086-LSC
v.                                                   )
                                                     )       Honorable L. Scott Coogler
DCH HEALTHCARE AUTHORITY,                            )
d/b/a DCH HEALTH SYSTEM,                             )
                                                     )
       DEFENDANT.                                    )


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs,

Geraldine Daniels, Sheneka Frieson, Gabrulla McCraw, Kimberly Turner, and Mary Williams,

voluntarily dismiss this action in its entirety without prejudice, with each party to bear their own

attorneys’ fees and costs.




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Dated: April 9, 2020                      Respectfully submitted,

                                          /s/ Gary M. Klinger

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                                CERTIFICATE OF SERVICE
       I certify that a copy of the foregoing was electronically filed on April 8, 2020, via the
Court Clerk’s CM/ECF system, which will provide notice to all counsel of record.


                                                     /s/ Gary M. Klinger
                                                     Gary M. Klinger




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